Case 2:96-Cr-20108-BBD Document 810 Filed 08/02/05 Page 1 of 2 Page|D 199

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IN THE UNITED STATES DISTRICT COUR'IUS AUG ~2 PH |2: []g
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

TIDMAS M. GOULD
WESTERN DIVISION CUM U-§- ;?W.~ECTUJHT

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 96-20108 D
V.
TROY RICHARD ANDERSON,

Defendant.

ORDER

 

lt appears that the motion to amend (Docket # 805), and the motion to expedite (Docket #

806) are moot. Accordingly, the motions are dismissed as moot.

IT ls So 0RDERED this ZK day of@_._g:,d¢, 2005.

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Honorable Bernice Donald
US DISTRICT COURT

